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EXPENSE SUMMARY
DATE DESCRIPTION AMOUNT
November, 2020 Photocopies $1,812.00
November, 2020 Postage $1,716.40
TOTAL $3,528.40

 

 

 

 
